Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 1 of 6
Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 2 of 6
Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 3 of 6
Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 4 of 6
Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 5 of 6
Case 1:15-cr-00318-DAD-BAM Document 71 Filed 07/19/16 Page 6 of 6
